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Attorney for Daniel Stonebarger

UNITED STATES DISTRICT COURT

DISTRICT OF COLORADO
DENVER DIVISION
UNITED STATES OF AMERICA, ) NO.: 1:21-cr-00392-RM
)
Plaintiff, ) STIPULATION AND [PROPOSED] ORDER
) CONTINUING SENTENCING DATE
Vv. )
)
DANIEL STONEBARGER )
)
Defendant. )
)

Counsel for the defense, Daniel Stonebarger stipulates and requests that the sentencing date
currently set for May 26, 2022, be continued to June 6, 2022 or other date convenient to the Court and
the Government. Due to communication difficulties amongst the defense which have now been
resolved, the defense requires additional time to properly prepare and file it’s sentencing memorandum
and other documents. No further delays are anticipated. The United States by and through AUSA
Martha Paluch object to this defense request for a continuance. In the alternative, the defense requests
an additional week to file its sentencing memorandum and request for variance/departure to May 19,

2022. The United States, by and through Martha Paluch do not object to this request.

IT IS SO STIPULATED.

DATED: May 12, 2022 Respectfully submitted,

DANIEL R. PEREMAN
Counsel for Defendant Daniel Stonebarger

